         Case 1:23-cr-00257-TSC Document 105 Filed 10/17/23 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

         v.
                                                                Criminal Action No. 23-257 (TSC)
 DONALD J. TRUMP,

                 Defendant.


                                     OPINION AND ORDER

       For the reasons set forth below and during the hearing in this case on October 16, 2023,

the government’s Motion to Ensure that Extrajudicial Statements Do Not Prejudice These

Proceedings, ECF No. 57, is GRANTED in part and DENIED in part.

       Under binding Supreme Court precedent, this court “must take such steps by rule and

regulation that will protect [its] processes from prejudicial outside interferences.” Sheppard v.

Maxwell, 384 U.S. 333, 363 (1966). The First Amendment does not override that obligation.

“Freedom of discussion should be given the widest range compatible with the essential

requirement of the fair and orderly administration of justice. But it must not be allowed to divert

the trial from the very purpose of a court system to adjudicate controversies, both criminal and

civil, in the calmness and solemnity of the courtroom according to legal procedures.” Id. at 350–

51 (cleaned up); Seattle Times Co. v. Rhinehart, 467 U.S. 20, 32 n.18 (1984) (“Although

litigants do not surrender their First Amendment rights at the courthouse door, those rights may

be subordinated to other interests that arise in this setting. For instance, on several occasions this

Court has approved restriction on the communications of trial participants where necessary to

ensure a fair trial for a criminal defendant.”) (quotation omitted). Here, alternative measures



                                             Page 1 of 3
         Case 1:23-cr-00257-TSC Document 105 Filed 10/17/23 Page 2 of 3




such as careful voir dire, jury sequestration, and cautionary jury instructions are sufficient to

remedy only some of the potential prejudices that the government’s motion seeks to address.

       In order to safeguard the integrity of these proceedings, it is necessary to impose certain

restrictions on public statements by interested parties. Undisputed testimony cited by the

government demonstrates that when Defendant has publicly attacked individuals, including on

matters related to this case, those individuals are consequently threatened and harassed. See ECF

No. 57 at 3–5. Since his indictment, and even after the government filed the instant motion,

Defendant has continued to make similar statements attacking individuals involved in the judicial

process, including potential witnesses, prosecutors, and court staff. See id. at 6–12. Defendant

has made those statements to national audiences using language communicating not merely that

he believes the process to be illegitimate, but also that particular individuals involved in it are

liars, or “thugs,” or deserve death. Id.; ECF No. 64 at 9–10. The court finds that such statements

pose a significant and immediate risk that (1) witnesses will be intimidated or otherwise unduly

influenced by the prospect of being themselves targeted for harassment or threats; and (2)

attorneys, public servants, and other court staff will themselves become targets for threats and

harassment. And that risk is largely irreversible in the age of the Internet; once an individual is

publicly targeted, even revoking the offending statement may not abate the subsequent threats,

harassment, or other intimidating effects during the pretrial as well as trial stages of this case.

       The defense’s position that no limits may be placed on Defendant’s speech because he is

engaged in a political campaign is untenable, and the cases it cites do not so hold. The Circuit

Courts in both United States v. Brown and United States v. Ford recognized that First

Amendment rights must yield to the imperative of a fair trial. 218 F.3d 415, 424 (2000); 830

F.2d 596, 599 (1987). Unlike the district courts in those cases, however, this court has found that



                                             Page 2 of 3
         Case 1:23-cr-00257-TSC Document 105 Filed 10/17/23 Page 3 of 3




even amidst his political campaign, Defendant’s statements pose sufficiently grave threats to the

integrity of these proceedings that cannot be addressed by alternative means, and it has tailored

its order to meet the force of those threats. Brown, 218 F.3d at 428–30; Ford, 830 F.2d at 600.

Thus, limited restrictions on extrajudicial statements are justified here. The bottom line is that

equal justice under law requires the equal treatment of criminal defendants; Defendant’s

presidential candidacy cannot excuse statements that would otherwise intolerably jeopardize

these proceedings.

       Accordingly, and pursuant to Local Criminal Rule 57.7(c), it is hereby ORDERED that:

       All interested parties in this matter, including the parties and their counsel, are
       prohibited from making any public statements, or directing others to make any
       public statements, that target (1) the Special Counsel prosecuting this case or his
       staff; (2) defense counsel or their staff; (3) any of this court’s staff or other
       supporting personnel; or (4) any reasonably foreseeable witness or the substance of
       their testimony.

This Order shall not be construed to prohibit Defendant from making statements criticizing the

government generally, including the current administration or the Department of Justice;

statements asserting that Defendant is innocent of the charges against him, or that his prosecution

is politically motivated; or statements criticizing the campaign platforms or policies of

Defendant’s current political rivals, such as former Vice President Pence.

       In addition, the sealed version of the government’s Motion to Ensure that Extrajudicial

Statements Do Not Prejudice These Proceedings, ECF No. 56, is DENIED as moot.



Date: October 17, 2023

                                                  Tanya S. Chutkan
                                                  TANYA S. CHUTKAN
                                                  United States District Judge



                                            Page 3 of 3
